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                                                           USDC SDNY
UNITED STATES DISTRICT COURT                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                              ELECTRONICALLY FILED
LAUREN BONNER,                                             DOC #: _________________
                                                           DATE FILED: 7/5/2018
                               Plaintiff,

                       -against-                                    18 Civ. 1233 (AT)

POINT72 ASSET MANAGEMENT, L.P.,                                        ORDER
STEVEN A. COHEN, in his individual and
professional capacity, and DOUGLAS D.
HAYNES, in his individual and professional
capacity,

                       Defendants.
ANALISA TORRES, United States District Judge:

        Plaintiff, Lauren Bonner, brings this action under the Equal Pay Act, 29 U.S.C. § 206 et

seq., the New York Labor Law (“NYLL”), NYLL § 194 et seq., the New York State Human

Rights Law, N.Y. Exec. Law § 290 et seq., and the New York City Human Rights Law, N.Y.C.

Admin. Code § 8-101 et seq. Defendants, Point72 Asset Management, L.P. (“Point72”), Steven

A. Cohen, and Douglas D. Haynes, move to compel arbitration under the Federal Arbitration Act

(“FAA”), 9 U.S.C. § 1 et seq., and dismiss this action. ECF No. 19. For the reasons stated

below, the motion to compel arbitration is GRANTED in part and DENIED in part, and the

motion to dismiss is DENIED. The action is STAYED pending the arbitrator’s ruling on

whether Plaintiff’s claims are arbitrable.

                                             BACKGROUND

       Point72 is a global asset management firm with a principal place of business in Stamford,

Connecticut; it also has offices in Manhattan, New York. Compl. ¶¶ 25, 28, ECF No. 26. Cohen

is the Chairman and Chief Executive Officer of Point72, id. ¶ 26, and Haynes is the President, id.

¶ 27. Plaintiff has been an Associate Director at Point72 since August 2016. Id. at ¶ 24.

       Plaintiff filed this action on February 12, 2018, alleging that Defendants paid her less
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than male employees and denied her promotions because of her gender, harassed female

employees, and retaliated against her for speaking out about Defendants’ unlawful conduct. Id.

¶¶ 38–69,115–18, 144–47.

         Plaintiff’s Employment Agreement contains an arbitration clause, which states:

         The parties agree that any dispute or controversy arising out of or relating to this
         agreement, your offer letter, and/or the employment relationship, will be settled
         by arbitration, to be held in Stamford, Connecticut, in accordance with the
         employment arbitration rules, then in effect, of the American Arbitration
         Association; provided, however, that the arbitrator will be knowledgeable in
         industry standards and practices, that the power of the arbitrator will be limited to
         interpreting this agreement and/or the offer letter as written and that the arbitrator
         will state in writing the reasons for his or her award and the legal and factual
         conclusions underlying the award. The award of the arbitrator will be final, and
         judgment upon the award may be confirmed and entered in any court, state or
         federal, having jurisdiction.

Employment Agreement ¶ 10, ECF No. 19-3.

         Defendants move to compel arbitration pursuant to the Employment Agreement. Def.

Mem. at 3–9, ECF No. 19-1. In the alternative, they move for an order directing that an

arbitrator, rather than the Court, determine in the first instance whether Plaintiff’s claims are

subject to arbitration under the Employment Agreement. Id. at 9–12. Defendants also move to

dismiss the action, id. at 12, or in the alternative, stay the action pending arbitration, id. at 13.

                                                DISCUSSION

    I.      Legal Standard

         The FAA reflects a “liberal federal policy favoring arbitration.” Laumann v. Nat’l

Hockey League, 989 F. Supp. 2d 329, 335 (S.D.N.Y. 2013) (quoting Moses H. Cone Mem'l

Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983)). “[A]rbitration is a matter of contract,

and therefore a party cannot be required to submit to arbitration any dispute which [it] has not




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agreed so to submit.” Ragone v. Atlantic Video at Manhattan Ctr., 595 F.3d 115, 126 (2d Cir.

2010) (alterations in original) (quoting JLM Indus., Inc. v. Stolt-Nielsen SA, 387 F.3d 163, 171

(2d Cir. 2004)). The FAA “leaves no place for the exercise of discretion by a district court, but

instead mandates that district courts shall direct the parties to proceed to arbitration on issues as

to which an arbitration agreement has been signed.” Dean Witter Reynolds Inc. v. Byrd, 470

U.S. 213, 218 (1985).

        Under the FAA, there is a general presumption that the issue of arbitrability should be

resolved by the courts. First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944–45 (1995).

The Second Circuit has held that “the issue of arbitrability may only be referred to the arbitrator

if there is clear and unmistakable evidence from the arbitration agreement, as construed by the

relevant state law, that the parties intended that the question of arbitrability shall be decided by

the arbitrator.” Contec Corp. v. Remote Sol., Co., 398 F.3d 205, 208 (2d Cir. 2005) (quoting Bell

v. Cendant Corp., 293 F.3d 563, 566 (2d Cir. 2002)).

        “When deciding whether the parties agreed to arbitrate a certain matter (including

arbitrability), courts generally . . . should apply ordinary state-law principles that govern the

formation of contracts.” First Options of Chicago, 514 U.S. at 944. Under Connecticut law,1 a

court must look at the contract as a whole and give operative effect to all of its provisions. See

Nat'l Grange Mutual Ins. Co. v. Santaniello, 290 Conn. 81, 89 (2009). “Analysis of the contract

focuses on the intention of the parties as derived from the language employed.” Levine v.




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  The Employment Agreement specifies that it is governed by Connecticut law, Employment Agreement ¶ 11.B, and
the parties do not dispute the validity of this choice-of-law provision, see Def. Mem. at 7–8; Pl. Opp. at 5, 8–10.
The Court, therefore, applies Connecticut law to interpret the Employment Agreement.




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Advest, Inc., 244 Conn. 732, 745 (1998) (collecting cases). Where, as here, “the intention of the

parties is to be determined without reference to extrinsic evidence, interpretation of the contract

is a matter of law.” Id. at 746.

   II.      Analysis

            A. Motion to Compel Arbitration

         The Court concludes that the Employment Agreement clearly and unmistakably delegates

the issue of arbitrability to the arbitrator. The Court does not, therefore, reach the question of

whether the Employment Agreement requires Plaintiff’s claims to be arbitrated.

         The arbitration clause in the Employment Agreement states that arbitration shall take

place “in accordance with the employment arbitration rules, then in effect, of the American

Arbitration Association.” Employment Agreement ¶ 10. Rule 6 of the American Arbitration

Association’s (“AAA”) Employment Arbitration Rules and Mediation Procedures (the “AAA

Employment Rules”) provides that “[t]he arbitrator shall have the power to rule on his or her

own jurisdiction, including any objections with respect to the existence, scope or validity of the

arbitration agreement.” AAA Employment Rules § 6, ECF No. 19-4. Defendants argue that,

pursuant to Rule 6, the incorporation of the AAA Employment Rules clearly and unmistakably

delegates the issue of arbitrability to the arbitrator. Def. Mem. At 9–12. The Court agrees.

         In Contec, the Second Circuit considered an arbitration clause that provided for

arbitration to take place “in accordance with” the Commercial Arbitration Rules of the American

Arbitration Association (the “AAA Commercial Rules”). 398 F.3d at 208. The court determined

that Rule 7 of the AAA Commercial Rules, which mirrors Rule 6 of the AAA Employment

Rules, “empowers an arbitrator to decide issues of arbitrability” because it delegates to the




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arbitrator the power to rule on the existence, scope, or validity of the arbitration agreement. Id.

The Court held that incorporation of the AAA Commercial Rules into the arbitration clause,

therefore, “serves as clear and unmistakable evidence of the parties’ intent to delegate such

issues to an arbitrator.” Id.

        “District [c]ourts within this Circuit have routinely applied Contec’s holding to find the

delegation of arbitrability clear and unmistakable where the AAA rules are incorporated by

reference into the arbitration clause.” Doctor’s Assocs., Inc. v. Tripathi, No. 16 Civ. 562, 2016

WL 7634464, at *18 (D. Conn. Nov. 3, 2016) (collecting cases); accord, e.g., Arshad v. Transp.

Sys., Inc., 183 F. Supp. 3d 442, 447 (S.D.N.Y. 2016). Here, the Employment Agreement

incorporates the AAA Employment Rules, and Rule 6 of those rules delegates to the arbitrator

the authority to determine the existence, scope, or validity of the arbitration clause. Contec’s

reasoning, therefore, applies with equal force in this case.

        The cases cited by Plaintiff to support her argument that the Employment Agreement

does not delegate the issue of arbitrability to the arbitrator are distinguishable. First, in

NASDAQ OMX Grp., Inc. v. UBS Sec., LLC, the Second Circuit found that arbitrability was a

decision for the district court because the arbitration provision in question had a “qualifying

provision” that carved out of arbitration issues that “arguably cover[ed]” the plaintiff’s claims.

770 F.3d 1010, 1032 (2d Cir. 2014). Here, however, it is undisputed that, at a minimum, the

arbitrator has the power to “interpret[] th[e] [Employment] [A]greement.” Employment

Agreement ¶ 10; see Def. Mem. at 9; Pl. Mem. at 6. Therefore, the question of whether

Plaintiff’s claims are arbitrable under the Employment Agreement falls squarely within the scope

of the arbitrator’s contractually delegated authority. Second, in Greene v. Subcontracting




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Concepts, L.L.C., the court decided arbitrability because the contract at issue was “completely

silent as to what entity is charged with deciding arbitrability.” No. 13 Civ. 1500, 2014 WL

1087999, at *3 (S.D.N.Y. Mar. 19, 2014). The Employment Agreement here, however,

delegates arbitrability to the arbitrator by incorporation of the AAA Employment Rules. Third,

in United Parcel Serv. v. Lexington Ins. Grp., the incorporation of the AAA rules was expressly

limited to application of the contract’s procedural rules, and the court concluded that it should

decide arbitrability because the “question of arbitrability is a substantive one.” No. 12 Civ.

7961, 2013 WL 1897777, at *2 (S.D.N.Y. May 7, 2013). There is no such limitation in the

Employment Agreement here.

        Accordingly, the Employment Agreement clearly and unmistakably delegates the

question of arbitrability to the arbitrator. The Court, therefore, does not reach the question of the

arbitrability of Plaintiff’s claims.

            B. Motion to Dismiss

        Where a court compels arbitration pursuant to a written agreement, the FAA and

Connecticut law mandate that the action be stayed pending arbitration. See 9 U.S.C. § 3; Conn.

Gen. Stat. Ann. § 52-409. Where, as here, Defendants seek dismissal of the action, the Court has

discretion in determining whether to grant dismissal or a stay. See, e.g., Arnold v. D’Amato, No.

14 Civ. 6457, 2015 WL 4503533, at *10 (S.D.N.Y. July 23, 2015).

        “[W]here all of the issues raised in the Complaint must be submitted to arbitration, the

Court may dismiss an action rather than stay proceedings.” Arrigo v. Blue Fish Commodities,

Inc., 704 F. Supp. 2d 299, 305 (S.D.N.Y. 2010) (internal quotation marks omitted). Here, the

Court has compelled the parties to arbitrate the question of the arbitrability of Plaintiff’s claims,




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but has not compelled arbitration of the claims themselves. If the arbitrator determines that any

of Plaintiff’s claims are not arbitrable under the Employment Agreement, litigation of those

claims shall proceed in this Court. Accordingly, the Court shall stay the action pending the

arbitrator’s determination with respect to arbitrability.

                                               CONCLUSION

        For the reasons stated above, Defendants’ motion to compel arbitration is GRANTED

in part, and Defendants’ motion to dismiss is DENIED. The action is STAYED pending the

arbitrator’s ruling on the arbitrability on Plaintiff’s claims.

        The parties shall file a joint letter by July 31, 2018, and every sixty days thereafter,

updating the Court on the status of arbitration. The parties shall also file a joint letter no later

than seven days after the arbitrator’s decision informing the Court of the decision.

        SO ORDERED.

Dated: July 5, 2018
       New York, New York




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